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                                                             April 11, 2025

VIA ECF
Hon. Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Combs, 24-cr-542 (AS)

Dear Judge Subramanian:

        We write pursuant to the Court’s January 8, 2025, scheduling order for the parties to file
their proposed jury questionnaires by April 11, 2025. (ECF 125.) The parties have met and
conferred on their respective questionnaires and cannot come to an agreement. Though the defense
does not disagree with the government’s proposed questions (with the exception of the description
of the case), the defense asserts that the government’s proposal does not explore at all the
prejudices and biases that are central to an effective inquiry to seating a fair jury. The defense
believes it is important that we allow potential jurors to write candidly about the unprecedented
and negative media attention that they may have been exposed to, related to Mr. Combs. Having a
fulsome questionnaire that addresses these issues is essential to choosing an impartial jury in the
time allotted.

        Here, due to the already scheduled one week of jury selection, the questionnaire actually
saves judicial court time by cutting down in-court inquiry through jurors’ written responses.
Evaluating those responses and collaborating with the government to determine agreed upon cause
challenges can be accomplished before actual selection. The defense questionnaire, which differs
from the government’s, explores inquiry into the central issues at the heart of this case. A few
examples of areas requiring inquiry are potential jurors’ connection to drug or alcohol abuse, their
connection to domestic violence, their willingness to watch videos with physical assault and videos
that are sexually explicit, and their views towards people with multiple sexual partners. Because
this trial involves content that is sensitive and private in nature, many individuals are
uncomfortable speaking about these issues in front of others and would be more candid writing
about them in a questionnaire. In another racketeering and sex trafficking case in the Eastern
District, Judge Nicholas Garaufis allowed these nearly exact questions to be asked of jurors in
United States v. Raniere, 18-cr-204 (NGG) Dkts. #491, 496, 497.
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        Finally, the parties have agreed to a proposed trial day schedule, which is set out on pages
1-2 of the proposed questionnaire. We appreciate the Court’s consideration.

                                                             Respectfully submitted,


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cc:    All counsel (by ECF)




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